                          CASE 0:21-cr-00055-MJD-LIB Doc. 4 Filed 03/16/21 Page 1 of 1
                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
     UNITED STATES OF AMERICA,
                               Plaintiff,
     v.
     JARED JOHN FIEGE,                        Criminal No. 21-CR-55 (MJD/LIB)
                            Defendant,
                      APPLICATION FOR WRIT OF HABEAS CORPUS
The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
      (X )Ad Prosequendum          ( )Ad Testificandum

Name of Detainee: JARED JOHN FIEGE
Detained at (custodian): DOUGLAS COUNTY JAIL WISCONSIN

The government is requesting the investigating agency to transport detainee.

Detainee is:            a.)    (X) charged in this district by: Indictment
                        Charging Detainee With: Mail Fraud
            or          b.)    () a witness not otherwise available by ordinary process of the Court

Detainee will: a.)                  ( ) return to the custody of detaining facility upon termination of this proceeding
       or      b.)                  ( X ) be retained in federal custody until final disposition of federal charges.

Appearance is necessary on March 19, 2021 at 1:30 p.m. in the courtroom of Leo I. Brisbois.

Dated: March 16, 2021                                                                           s/ Lindsey Middlecamp
                                                                                                LINDSEY MIDDLECAMP, AUSA

                                                              WRIT OF HABEAS CORPUS

            (X )Ad Prosequendum                                         ( )Ad Testificandum

The above application is granted and the above-named custodian, as well as the United States marshal for this
district, is hereby ORDERED to produce the named detainee, on the date and time recited above, and any
further proceedings to be had in this case, and at the conclusion of said proceedings to return said detainee to
the above-named custodian.

 March 16, 2021
____________________________________                                                          s/ David T. Schultz
                                                                                             ______________________________________
Date                                                                                         UNITED STATES MAGISTRATE JUDGE
Please provide the following, if known:
     A.K.A.(s) (if applicable):                                                                        Gender:           Male
     Booking or Fed. Reg.#:                31150                                                       DOB:              xx/xx/1987
     Facility Address:                     1310 North 14th Street                                      Race:             Caucasian
                                           Superior, WI 54880                                          FBI #:
     Facility Phone:                       715-395-1508
     Currently Incarcerated For:
                                                                             RETURN OF SERVICE
Executed on ______________________________________ by __________________________________________ ________________________________________________________________________
                                                                                                                   (Signature)




                                                                                                                               Writ issued 3/16/2021
